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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA
           v.
                                                        Criminal Action No. 22-133 (CKK)
 ARIAN TAHERZADEH & HAIDER ALI,
                Defendants


                                            ORDER
                                         (June 30, 2022)

       During the status hearing in this matter on June 30, 2022, Defense counsel requested that
the Court modify the conditions of release applicable to both Defendants to allow them to attend
meetings with their attorneys without need for a court order each time, but rather upon notification
to and approval by the Pretrial Services Agency (“PSA”). The government did not object to this
request.
       In a previous order, the Court directed that Defendants must notify PSA at least one week
in advance of legal appointments and provide specific dates and start and end times of each
appointment, and the precise address of each. See Order, ECF No. 38. However, the Court did
not explicitly authorize PSA to “approve” such visits without the Court’s leave. For clarity, the
Court ORDERS that both Defendants’ release conditions are modified as follows: Defendants
may attend attorney appointments without the Court’s leave, but their counsel must notify PSA at
least one week in advance and provide specific dates and start and end times of each appointment,
and the precise address of each. When attending these attorney visits, Defendants must report
directly to the address provided to PSA and may not make any other stops. All other conditions
of release remain in effect. See ECF Nos. 18, 19.
       SO ORDERED.
                                                       /s/
                                                     COLLEEN KOLLAR-KOTELLY
                                                     United States District Judge
